                  Case 1:23-cr-00490-SHS            Document 348           Filed 04/23/24        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Southern District
                                             __________ DistrictofofNew York
                                                                     __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No. 23-cr-490
               ROBERT MENENDEZ, et al.,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Wael Hana                                                                                                     .


Date:          04/23/2024                                                                 s/ Kelsey A. Ball
                                                                                         Attorney’s signature


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